  Case 1:23-mi-99999-UNA Document 2571-1 Filed 08/11/23 Page 1 of 7




                          Exhibit 1
               Complaint for Damages




Defendants Pine Ridge Macon, LLC And New
    Home, LLC’s Petition For Removal
                                                                                  State Court of Fulton County
       Case 1:23-mi-99999-UNA Document 2571-1 Filed 08/11/23 Page 2 of 7                            **E-FILED**
                                                                                                   23EV000464
                                                                                            1/20/2023 2:16 PM
                                                                                          Donald Talley, Clerk
                          IN THE STATE COURT OF FULTON COUNTY                                     Civil Division
                                    STATE OF GEORGIA

KATAVIUS THREATT, Individually and as
Next Friend of NIASIA THREATT,

        Plaintiffs,
v.                                                     CIVIL ACTION NO.

PINE RIDGE MACON, LLC d/b/a PINE
RIDGE APARTMENTS, NEW HOME, LLC,
TIESHA KAY, and JOHN DOE NOS. 1-10.

        Defendants.


                                 COMPLAINT FOR DAMAGES

        COMES NOW, KATAVIUS THREATT, Individually and as Next Friend of NIASIA

THREATT, Plaintiﬁ's in the above-captioned case, by and through their undersigned counsel of

record, and ﬁles this, her Complaint for Damages, and respectfully shows:

                                                  l.

        Defendant PINE RIDGE MACON, LLC d/b/a PINE RIDGE APARTMENTS, is a

domestic limited liability company whose registered agent resides in Fulton County, Georgia,

subjecting it to the venue and jurisdiction of this Court.

                                                  2.

        Defendant NEW HOME, LLC is a domestic limited liability company whose registered

agent resides in Fulton County, Georgia, subjecting it to the venue and jurisdiction of this Court

as a joint tort-feasor.

                                                  3.

        Defendant TIESHA KAY is subject to the venue and jurisdiction of this Court as a joint

tort-feasor.
       Case 1:23-mi-99999-UNA Document 2571-1 Filed 08/11/23 Page 3 of 7



                                                     4.


        Defendant(s) JOHN DOE NOS. 1-10, at all times relevant to this Complaint for

Damages, was and is an employee and/or agent of PINE RIDGE MACON, LLC d/b/a PINE

RIDGE APARTMENTS and/or NEW HOME, LLC, subjecting him/her to the venue and

jurisdiction of this Court as a joint toxt-feasor.

                                                     5.

        Defendant PINE RIDGE MACON, LLC d/b/a PINE RIDGE APARTMENTS at all times

relevant to this Complaint, owned, operated, maintained and/or managed the apartment complex

located at 1966 Clinton Road (1968 Clinton Road), Macon, Bibb County, Georgia 31211.

                                                     6.

        Defendant NEW HOME, LLC at all times relevant to this Complaint, owned, operated,

maintained and/or managed the apartment complex located at 1966 Clinton Road (1968 Clinton

Road), Macon, Bibb County, Georgia 31211.

                                                     7.

        On or about January 20, 2021, Plaintiff Niasia Threatt entered onto the subject premises

as an invitee.

                                                     8.

        While on the premises as an invitee, Plaintiff Niasia Threatt was shot and seriously

injured by Defendant TIESHA KAY.

                                                     9.

        At all times relevant to this Complaint for Damages, Defendants had a legal duty to keep

the subject premises in a state consistent with the due regard for the safety of their invitees and


guests. Further, Defendants had a legal duty to protect invitees and their guests from third-party
      Case 1:23-mi-99999-UNA Document 2571-1 Filed 08/11/23 Page 4 of 7



criminal attacks. Defendants breached their duty owed to Plaintiff by failing to exercise ordinary

care to keep the premises safe in one or more of the following ways:


       a)      Failing to remove dangerous persons from its property on January 20, 2021;

       b)      Failing to have any security guards and/or off-duty police ofﬁcers patrolling the

               subject premises at the time Plaintiff was shot;

       C)      Allowing dangerous persons to roam the premises for a lengthy period of time,

               undeterred and unencumbered by any security measures, just looking for a victim;

       d)      Failing to remove the assailant who shot Plaintiff from the property prior to

               Plaintiff getting shot;

       e)      Failing to have adequate security oﬁicers and/or off-duty security patrols despite

               their knowledge of numerous prior violent crimes having occurred;

               Failing to install, maintain or repair security equipment such as surveillance

               cameras so that such equipment would be properly functioning on and prior to

               January 20, 2021;

       g)      Failing to monitor surveillance cameras so as to keep dangerous persons from

               coming onto the subject premises and/or loitering on the subject premises;

       h)      Failing to maintain and enforce criminal trespass lists and procedures, including,

               but not limited to, "banned persons" policies and procedures;

       l)      Failing to take appropriate action to deter foreseeable crime such as the shooting

               that led to Plaintiff's injuries;

       j)      Failing to take reasonable actions in response to prior employee and/or customer

               safety concerns;

       k).    }~Failing to properly document prior employee and/or customer safety concerns;
       Case 1:23-mi-99999-UNA Document 2571-1 Filed 08/11/23 Page 5 of 7



        1)        Failing to properly allocate enough resources to security measures despite actual

                  knowledge of extensive violent crime occurring in the common areas of the

                  premises prior to January 20, 2021;

        m)        Failing to take reasonable steps to make itself aware of the dangerous conditions

                  that existed at the subject premises on and prior to January 20, 2021;

        n)        Failing to remedy one or more security deﬁciencies about which they were aware

                  of and on notice;

        0)        Failing to maintain, inspect, secure, patrol, and manage the subject premises;

        p)        Falsely representing to invitees and their guests that the subject premises was

                  safe;

                  Knowingly violating their own policies, protocols, and procedures which were

                  designed in whole or in part to prevent or deter unauthorized persons from

                  coming onto the premises and engaging in criminal activity;

        r)        Failing to adequately supervise, hire, train, and retain their employees and agents

                  and for the entrustment of the premises to their agents and employees;

        S)        Failing to warn business invitees, including Plaintift', of dangerous conditions and

                  criminal activity at the subject premises; and,

        t)        All other acts of negligence as may be shown at the time of trial.


                                                   10.

        The aforementioned shooting pled in 1] 8 of this Complaint for Damages, which was the

foreseeable and proximate result of Defendants' negligent breach of duty, resulted in serious

injuries to Plaintiﬁ' Niasia Threatt's body, which required immediate medical attention and

rehabilitation.
       Case 1:23-mi-99999-UNA Document 2571-1 Filed 08/11/23 Page 6 of 7




                                                  11.


       As a foreseeable and proximate result of Defendants' negligence, Plaintiff Katavius

Threatt has incurred medical expenses on behalf of her minor child Niasia Threatt in excess of

$19,683.24.

                                                  12.

       In addition to the aforementioned damages, Plaintiff Niasia Threatt has endured and will

continue to endure pain and suffering and emotional distress.

                                                  13.

        Plaintiffs have a cause of action against Defendant PINE RIDGE MACON, LLC d/b/a

PINE RIDGE APARTMENTS for negligence, negligent hiring and retention of an unsafe

employee(s), respondeat superior, and all other applicable theories of liability.

                                                  14.

       Plaintiffs have a cause of action against Defendant NEW HOME, LLC for negligence,

negligent hiring and retention of an unsafe employee(s), respondeat superior, and all other

applicable theories of liability.

                                                  1   5.

        Plaintiff' have a cause of action against Defendant TIESHA KAY for the intentional torts

of aggravated assault and intentional inﬂiction of emotional distress.

                                                  l6.

        Plainﬁﬁs have a cause of action against Defendant JOHN DOE NOS. 1-10 for negligence

and all other applicable theories of liability.
      Case 1:23-mi-99999-UNA Document 2571-1 Filed 08/11/23 Page 7 of 7



                                               17.


       Plaintiffs are entitled to recover from Defendants for Niasia Threatt's past and ﬁlture

medical expenses, past and future pain and suffering, emotional distress, and all other damages

as permitted by Law.


       WHEREFORE, Plaintiffs pray that they have a judgment against Defendants in an

amount determined by a jury to be adequate and just.

       This ZOHﬁday of January, 2023.



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                                                            ASl' ley C     ron-Bivins
                                                            GA Bar 0 914842
                                                            Att        for Plaintiff
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